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DIST ere
CARL WILSON, an individual, and
AUDREE WILSON, an individual, Q4NOV-7 P
Plaintiffs, cf fh Oy 5 bod
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Vv. Noiidt¥[s4-go2 IC/LFG

HARPERCOLLINS PUBLISHERS, INC.,
a Delaware Corporation and
EUGENE LANDY, an individual,
Defendants.
CERTIFICATE OF MAILING

Defendant HarperCollins Publishers, Inc., by and through its
attorneys, Rodey, Dickason, Sloan, Akin & Robb, P.A., hereby
certifies that a conformed and endorsed copy of the Order granting
defendant’s Motion for Extension of Time to answer or otherwise
respond to the First Amended Complaint for Libel was mailed to all

counsel of record as follows:

Ernesto J. Romero
3602 Campus Blvd., NE
Albuquerque, NM 87106

Jody Leslie

Langberg, Leslie & Gabriel

2049 Century Park East, Suite 3030
Los Angeles, CA 90067

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

By Maid Lebihen)

William S. Dixon °
Attorneys for Defendant, HarperCollins
Publishers, Inc.
Post Office Box 1888
Albuquerque, New Mexico 87103
Telephone: (505) 765-5900
 

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We hereby certify that a copy of
the foregoing was mailed to all
counsel of record this 7th day
of November, 1994.

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

 
 

By
William S. Dixon

 

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